B7 (Official Form 7) (12/07)


                                                            UNITED STATES BANKRUPTCY COURT
                                                                Eastern District of Wisconsin


In re:   Netwurx, Inc.                                                                                      Case No. 08-26131
                                                                                      ,
                                                              Debtor                                                               (If known)




                                                   STATEMENT OF FINANCIAL AFFAIRS

             This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the
information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for
both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor
engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should provide the information requested on
this statement concerning all such activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor
children, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


           Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must
complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is
needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number (if known),
and the number of the question.
                                                                           DEFINITIONS

             "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual
debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this
bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity
securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time.
An individual debtor also may be “in business” for the purpose of this form if the debtor engages in a trade, business, or other activity, other
than as an employee, to supplement income from the debtor’s primary
employment.

            "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the
voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing
agent of the debtor. 11 U.S.C. § 101.



           1. Income from employment or operation of business
None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
   q       debtor's business, including part-time activities either as an employee or in independent trade or business, from the beginning
           of this calendar year to the date this case was commenced. State also the gross amounts received during the two years
           immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a
           fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal
           year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
           must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
           is not filed.)

           AMOUNT                                 SOURCE                                                FISCAL YEAR PERIOD

           2,266,333.13                           Customers                                             2007

           899,759.29                             Customers                                             2008




                               Case 08-26131-svk                 Doc 19         Filed 06/20/08               Page 1 of 15
                                                                                                                                      2

       2.   Income other than from employment or operation of business
None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
 q
 ü     business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
       filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
       each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


       AMOUNT                                SOURCE                                                                      FISCAL YEAR PERIOD




                          Case 08-26131-svk               Doc 19         Filed 06/20/08             Page 2 of 15
                                                                                                                                      3

       3.   Payments to creditors

       Complete a. or b., as appropriate, and c.
None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
 q     services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
       the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
       (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
       repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
       under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless
       the spouses are separated and a joint petition is not filed.)

       NAME AND ADDRESS OF                                      DATES OF                                    AMOUNT                  AMOUNT
       CREDITOR                                                 PAYMENTS                                    PAID                    STILL OWING

       Accurate Surveying                                       03/18/08                                    1,319.50

       ADP/Payroll                                              03/07/08; 03/13/08; 03/21/08;               92,268.29
       330 E. Kilbourne Ave.                                    03/27/08; 04/03/08; 04/10/08;
       Milwaukee, WI 53202                                      04/18/08; 04/24/08; 05/08/08;
                                                                05/16/08; 05/23/08; 05/30/08;
                                                                05/02/08

       Agricredit                                               03/17/08; 04/15/08; 05/15/08                1,622.85
       P.O. Box 14535
       Des Moines, IA 50306

       Allar Unlimited                                          04/08/08                                    3,857.88
       7625 Pond Rd.
       Hartford, WI 53027

       Angie Bz's                                               03/19/08                                    75.00

       Apple Store                                              04/05/08                                    1,813.15

       AT&T                                                     03/06/08; 03/06/08; 04/30/08;               2,710,512.47
       Bill Payment Center                                      05/31/08
       Saginaw, MI 48663.0003

       Authorizenet                                             04/03/08; 05/05/08                          3,662.00
       808 East Utah Valley Dr.
       American For, UT 84003

       Candace Monteith                                         03/07/08                                    47.13
       412 Pine Grove Ave.
       Burlington, WI 53105

       Capital One                                              05/19/08                                    59.94
       P.O. Box 790217
       St. Louis, MO 63179-0217

       Capital One Visa                                         03/18/08; 04/14/08                          3,465.17
       P.O. Box 8518
       Richmond, VA 23285-5184

       Cardmember                                               05/02/08; 05/31/08                          517.05
       P.O. Box 94014
       Palatine, IL 60094-4014

       Cardservice                                              03/05/08; 04/03/08; 05/07/08                1,881.50
       P.O. Box 5180
       Simi Valley, CA 93062-5180

       Carilyn Carlson                                          03/07/08                                    100.00
       1028 Garfield Ct.
       Hartford, WI 53027



                          Case 08-26131-svk                 Doc 19         Filed 06/20/08             Page 3 of 15
                                                                                       4

CenturyTel                              05/31/08                           84.94
P.O. Box 6001
Marion, LA 71260-6001

City of Hartford                        03/20/08; 04/21/08; 05/09/08       2,668.77
109 N. Main St.
Hartford, WI 53027

Cogent                                  03/06/08; 04/30/08; 05/31/08       7,500.00
P.O. Box 791087
Baltimore, MD 21279-1087

Colleen Tyler                           03/11/08                           135.85
6738 County Line Rd.
Hartford, WI 53027

Conley Classic                          03/25/08                           330.00
P.O. box 7
Waukesha, WI 53187-0007

Dan Spangler, LLC                       03/19/08; 04/25/08                 10,000.00
817 W. Milwaukee St.
Jefferson, WI 53549

Dave Mack                               03/11/08; 04/25/08                 4,000.00
W7703 Koshkonong Lake
Fort Atkinson, WI 53538

Dave Roller                             04/24/08; 05/09/08                 953.68
3848 N86th St.
Milwaukee, WI 53222

David Kiernan                           03/14/08; 04/15/08; 05/20/08       9,368.84
120 N. Fraternity Ln.
Whitewater, WI 53190

Dell Financial                          04/05/08                           98.81
12234 N I H 3 Bldg B
Austin, TX 78753

Discover Business                       03/27/08; 05/02/08; 05/12/08       465.84
P.O. Box 52145
Phoenix, AZ 85072-2145

E W Five Ltd.                           03/28/08; 03/31/08                 1,800.00
1190 Shamrock Cout
Hartford, WI 53027

Eric Kiernan                            03/14/08; 03/18/08; 04/15/08;      9,368.84
120 N. Fraternity Ln.                   04/30/08
Whitewater, WI 53190

First Bank Financial Centre             03/14/08; 03/17/08; 03/24/08;      33,423.47
P.O. Box 270220                         04/03/08; 04/15/08; 04/22/08;
Hartford, WI 53027                      05/08/08; 05/13/08; 05/15/08;
                                        05/23/08; 05/27/08

Floyd Kiesow                            03/07/08                           263.65

GE Capital                              03/24/08; 04/18/08                 6,198.12
P.O. Box 740420
Atlanta, GA 30374-0420

Global Pops                             03/06/08; 05/06/08                 8,822.47
Eight Penn Center West
Pittsburgh, PA 15276


                  Case 08-26131-svk   Doc 19       Filed 06/20/08       Page 4 of 15
                                                                                       5

Global Tower                            04/03/08                           5,154.28
c/o Bank Atlar
P.O. Box 831
Fort Lauderdale, FL 33310-8312

Hammerin' Hanks                         03/31/08                           1,183.61
11 South Main St.
Hartford, WI 53027

IDC                                     05/30/08; 03/06/08                 20,000.00

Jane Maher                              04/05/08; 03/11/08; 04/04/08;      9,533.27
1273 Kennedy Dr.                        06/03/08
Hartford, WI 53027

Jeff Wenzler                            03/14/08; 04/15/08; 05/20/08       9,368.94
N493 Old Hwy 26
Fort Atkinson, WI 53538

Jennifer Fawlin                         03/07/08                           315.20
N56 W26904 Lisbon Rd.
Sussex, WI 53089

Jonathan Auer                           03/14/08; 03/31/08; 04/04/08;      2,545.58
46 E. Jackson Apt. 5                    04/16/08; 04/22/08; 05/05/08
Hartford, WI 53027

Judy Stevens                            05/05/08                           221.18
W1259 Harding Rd.
Rubicon, WI 53078

Julie Wright                            03/05/08                           250.00
N5843 Wright Road
Johnson Creek, WI 53038

Kiernan Consulting                      05/06/08; 05/01/08                 1,343.23
120 N. Franternity Lane
Whitewater, WI 53190

Last Mile Gear                          05/08/08                           5,532.13
1322 Vandercook Way
Longview, WA 98632

Lori Spiegler                           05/29/08                           1,245.08
222 E. Sumner St.
Hartford, WI 53027

MBNA Platinum Plus                      04/03/08; 05/08/08                 1,300.00
P.O. Box 15019
Wilmington, DE 19886-5019

McLeod USA                              04/30/08; 05/31/08                 244.73
P.O. Box 3177
Cedar Rapids, IA 52406-3177

Michael Fitzgerald                      03/18/08                           50.48
1038 Meadowood Lane
Jefferson, WI 53549

N-Connect                               03/14/08; 04/15/08                 16,149.19
300 Industrial Dr.
Random Lake, WI 53075

Ness Electror                           05/15/08                           1,277.00
2135 Energy Park Dr.
St. Paul MN 55108


                  Case 08-26131-svk   Doc 19       Filed 06/20/08       Page 5 of 15
                                                                                        6

Office Max                                03/06/08; 03/13/08                537.10
1301 W. Paradise Dr.
West Bend, WI 53095

Pamela A. Maher                           03/11/08; 04/10/08; 05/16/08      3,282.00
2858 N. Murray Ave.
Milwaukee, WI 53211

Peter Maher                               04/05/08; 04/18/08; 06/03/08      9,116.59
1273 Kennedy Dr.
Hartford, WI 53027

Pitney Bowes                              04/14/08                          56.89
P.O. Box 856390
Louisville, KY 40285

Pro Auto Center                           03/13/08; 03/14/08                2,111.95

Purchase Power                            04/14/08                          2,512.53
P.O. Box 856042
Louisville, KY 40285

R. Peters                                 05/05/08                          1,836.20
5418 Vista Court
San Antonio, TX 78247

Robert B. Townsend                        05/05/08                          150.00
W7151 County Rd. C
Fort Atkinson, WI 53538

Ronald Fowler                             03/14/08; 04/15/08; 05/20/08      9,368.84
11726 N. McMillan
Whitewater, WI 53190

SBA Structures                            03/07/08                          1,400.47
5900 Broken Sound Parkway NW
Boca Raton, FL 33487

SBA/First Financial                       05/05/08                          3,223.35
P.O. Box 270220
Hartford, WI 53027

South Side                                03/05/08                          316.50
1680 Janesville Ave.
Fort Atkinson, WI 53538

Spoon River                               03/12/08                          110.00
106 E. Locust St.
Canton, IL 61520

Sprint 3121                               04/14/08                          33.23
P.O. Box 219100
Kansas City, MO 64121-9100

Sprint 6386                               04/22/08; 05/19/08                6,348.07
P.O. Box 4181
Carol Stream, IL 60197-4181

Sprint 7112                               04/30/08; 05/31/08                172.69
P.O. Box 88026
Chicago, IL 60680-1206

Susan Colwell                             05/02/08                          1,200.00
132 Glen Hill Dr.
Slinger, WI 53086



                    Case 08-26131-svk   Doc 19       Filed 06/20/08      Page 6 of 15
                                                                                        7
Terry Spiegler                          03/20/08; 04/24/08; 05/29/08        2,190.77
222 E. Sumner St.
Hartford, WI 53027

Tim Wright                              03/24/08; 03/27/08; 03/31/08;       2,601.79
108 Park Circle                         04 /03/08; 04/07/080; 4/22/08;
Sun Prairie, WI 53590                   05/01/08

Total Comfort                           05/06/08                            2,000.00
W234 N2830 Paul Rd.
Pewaukee, WI 53072

Town Realty                             05/14/08                            3,384.13
710 N Plankinton Ave.
Milwaukee, WI 53203

Towne Realty                            04/30/08; 05/31/08; 03/07/08        6,950.77
Dept. 00613
Milwaukee, WI 53529

Travelers insurance                     05/08/08                            2,550.00

Travis Coffey                           05/01/08                            60.48
303 Root Ave.
Hartford, WI 53027

Troy Magritz                            03/12/08                            99.95
1624 Woodruff Way
Hartford, WI 53027

United Health Care                      03/10/08; 04/10/08; 05/10/08;       23,728.02
Dept. CH 10151                          05/12/08
Palitine, IL 60055-0151

United States Postal Service            03/13/08; 04/07/08; 04/07/08        1,703.00

Veolia                                  03/10/08; 04/10/08; 05/12/08        146.90
P.O. Box 6484
Carol Stream, IL 60197-6484

WAV, Inc.                               04/03/08                            10,000.00
P.O. Box 95259
Palatine, IL 60095-0259

WE Energies                             04/05/08                            3,041.45
Box 70474
Milwaukee, WI 53270

White Elephant Realty                   03/31/08; 04/30/08                  5,291.87
P.O. Box 270034
Hartford, WI 53027

Wisconsin Dells                         05/08/08; 05/30/08                  44,271.90
Box 93389
Milwaukee, WI 53293-0389

Yellowbook IL                           04/18/08; 04/05/08                  1,091.19
P.O. Box 586
Newark, NJ 07101-586




                  Case 08-26131-svk   Doc 19       Filed 06/20/08        Page 7 of 15
                                                                                                                                      8

None    b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
        days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
 q
 ü
        affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that
        were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a
        plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter 13
        must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
        spouses are separated and a joint petition is not filed.)
        NAME AND ADDRESS OF CREDITOR                          DATES OF                                    AMOUNT                    AMOUNT
                                                              PAYMENTS/                                   PAID OR                   STILL
                                                              TRANSFERS                                   VALUE OF
                                                                                                                                    OWING
                                                                                                          TRANSFERS




None    c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
        benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by
  ü
  q
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)

        NAME AND ADDRESS OF CREDITOR                          DATE OF                                     AMOUNT                    AMOUNT
        AND RELATIONSHIP TO DEBTOR                            PAYMENT                                     PAID                      STILL OWING




        4.   Suits and administrative proceedings, executions, garnishments and attachments
None    a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the
  q     filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
        either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
        not filed.)

        CAPTION OF SUIT                                                                COURT OR AGENCY                            STATUS OR
        AND CASE NUMBER                         NATURE OF PROCEEDING                   AND LOCATION                               DISPOSITION
        Charter Fiberlink, LLC v.               CC Breach of Contract                  St. Louis Co. Court Building               Pending
        Netwurx, Inc.                                                                  7900 Carondelet Ave.
           07SL-CC01280                                                                Clayton, MO 63105
        Eye Communication System, Inc.           Civil                                 Waukesha Co. Circuit Court                 Pending
        v. Netwurx, Inc.                                                               515 W. Moreland Blvd
           07 CV 3267                                                                  Waukesha, WI 53187


 None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
        immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
  q
        information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
        separated and a joint petition is not filed.)

        NAME AND ADDRESS                                                                           DESCRIPTION
        OF PERSON FOR WHOSE                                          DATE OF                       AND VALUE OF
        BENEFIT PROPERTY WAS SEIZED                                  SEIZURE                       PROPERTY

        Wisconsin Dept. of Revenue                                   05/08/2008                    $87,961.71
        141 NW Barstow St.
        Waukesha, WI 53188-3789




                           Case 08-26131-svk                Doc 19         Filed 06/20/08             Page 8 of 15
                                                                                                                                       9

       5.   Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
 q
 ü     foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                  DATE OF REPOSSESSION,                DESCRIPTION
       NAME AND ADDRESS                                           FORECLOSURE SALE,                    AND VALUE OF
       OF CREDITOR OR SELLER                                      TRANSFER OR RETURN                   PROPERTY



       6.   Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
  q
  ü    commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)

                                                                                                    TERMS OF
       NAME AND ADDRESS                                            DATE OF                          ASSIGNMENT
       OF ASSIGNEE                                                 ASSIGNMENT                       OR SETTLEMENT


None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
  q
  ü    immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                     NAME AND ADDRESS                                                  DESCRIPTION
       NAME AND ADDRESS                              OF COURT                               DATE OF                    AND VALUE OF
       OF CUSTODIAN                                  CASE TITLE & NUMBER                    ORDER                      PROPERTY


       7.   Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
 ü
 q
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                              RELATIONSHIP                                                      DESCRIPTION
       OF PERSON                                     TO DEBTOR,                       DATE                             AND VALUE OF
       OR ORGANIZATION                               IF ANY                           OF GIFT                          GIFT

       8. Losses

None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
 q
 ü     of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                         DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                        LOSS WAS COVERED IN WHOLE OR IN PART                                 DATE OF
       PROPERTY                                            BY INSURANCE, GIVE PARTICULARS                                       LOSS




                          Case 08-26131-svk                 Doc 19         Filed 06/20/08              Page 9 of 15
                                                                                                                                       10

       9.   Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.
 q


       NAME AND ADDRESS                                           DATE OF PAYMENT,                   AMOUNT OF MONEY OR
       OF PAYEE                                                   NAME OF PAYOR IF                   DESCRIPTION AND VALUE
                                                                  OTHER THAN DEBTOR                  OF PROPERTY
       Clear Creek Consulting                                     01/31/08                           $3750.00
       8620 Wolff Ct., Ste. 330
       Westminster, CO 80030

       Fish Law Offices                                           06/03/08                           15,000.00
       533 Vernal Ave.
       Milton, WI 53563



       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
 q
 ü     debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                             DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                                       TRANSFERRED
       RELATIONSHIP TO DEBTOR                                       DATE                                     AND VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
  q
  ü    self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                                    DATE(S) OF                          AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                                    TRANSFER(S)                         AND VALUE OF PROPERTY OR DEBTOR'
                                                                                                     INTEREST IN PROPERTY




       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
 q     sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
 ü
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                               TYPE OF ACCOUNT, LAST FOUR                        AMOUNT AND
       NAME AND ADDRESS                                        DIGITS OF ACCOUNT NUMBER,                         DATE OF SALE
       OF INSTITUTION                                          AND AMOUNT OF FINAL BALANCE                       OR CLOSING




                          Case 08-26131-svk               Doc 19         Filed 06/20/08             Page 10 of 15
                                                                                                                                          11

       12. Safe deposit boxes

None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
 q
 ü     one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)



       NAME AND ADDRESS                              NAMES AND ADDRESSES                     DESCRIPTION                        DATE OF TRANSFER
       OF BANK OR                                    OF THOSE WITH ACCESS                    OF                                 OR SURRENDER,
       OTHER DEPOSITORY                              TO BOX OR DEPOSITORY                    CONTENTS                           IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
 q
 ü     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                               DATE OF                         AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                            SETOFF                          SETOFF


       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
 q     NAME AND ADDRESS                                              DESCRIPTION AND VALUE
       OF OWNER                                                      OF PROPERTY                               LOCATION OF PROPERTY

       Peter & Jane Maher                                           1996 Jeep; $2000.00                       35 E. Sumner St.
       1273 Kennedy Dr.                                                                                       Hartford, WI
       Hartford, WI 53027



       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
  q
  ü    debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                                 NAME USED                                   DATES OF OCCUPANCY

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
  q
  ü    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.

       NAME




                         Case 08-26131-svk                 Doc 19         Filed 06/20/08              Page 11 of 15
                                                                                                                                      12

       17. Environmental Information.

       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.


       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.    List the name and address of every site for which the debtor has received notice in writing by a governmental unit that
 q
 ü     it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of
       the notice, and, if known, the Environmental Law.



       SITE NAME AND                                    NAME AND ADDRESS                       DATE OF                      ENVIRONMENTAL
       ADDRESS                                          OF GOVERNMENTAL UNIT                   NOTICE                       LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
  q
  ü    Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.




       SITE NAME AND                             NAME AND ADDRESS                         DATE OF                   ENVIRONMENTAL
       ADDRESS                                   OF GOVERNMENTAL UNIT                     NOTICE                    LAW



None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
 ü
 q     respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                                 DOCKET NUMBER                                         STATUS OR
       OF GOVERNMENTAL UNIT                                                                                   DISPOSITION




                         Case 08-26131-svk                  Doc 19          Filed 06/20/08           Page 12 of 15
                                                                                                                                           13

         18. Nature, location and name of business

None     a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
  q
         executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
         other activity either full- or part-time within the six years immediately preceding the commencement of this case,
         or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
         preceding the commencement of this case.

         If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
         and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
         the voting or equity securities, within the six years immediately preceding the commencement of this case.


         If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
         beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
         equity securities within the six years immediately preceding the commencement of this case.
                                      LAST FOUR DIGITS
                                      OF SOCIAL SECURITY
         NAME                                                       ADDRESS                           NATURE OF               BEGINNING AND ENDING
                                      OR OTHER INDIVIDUAL
                                                                                                      BUSINESS                DATES
                                      TAXPAYER-I.D. NO.
                                      (ITIN)/ COMPLETE EIN
         Reiley Pener & Benton



None     b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
         U.S.C. § 101.
  q
  ü

         NAME                                                                                 ADDRESS


       The following questions are to be completed by every debtor that is a corporation or partnership and
  by any individual debtor who is or has been, within the six years immediately preceding the commencement
  of this case, any of the following: an officer, director, managing executive, or owner or more than 5
  percent of the voting or equity securities of a corporation; a partner, other than limited partner, of a partnership;
  a sole proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as
  defined above, within the six years immediately preceding the commencement of this case. A debtor who has not been in
  business within those six years should go directly to the signature page.)

         19. Books, records and financial statements
None     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
  q      supervised the keeping of books of account and records of the debtor.


         NAME AND ADDRESS                                                                     DATES SERVICES RENDERED

         Jane L. Maher                                                                       10/01/06 to present
         1273 Kennedy Dr.
         Hartford, WI 53027

         Reiley Pener & Benton                                                               2005 to present (taxes only)
         1233 N. Mayfair Rd. Ste. 302
         Milwaukee, WI 53226-3255

None     b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the
  ü
  q      books of account and records, or prepared a financial statement of the debtor.


         NAME                           ADDRESS                                               DATES SERVICES RENDERED




                            Case 08-26131-svk                 Doc 19         Filed 06/20/08               Page 13 of 15
                                                                                                                                            14

None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account
  q    and records of the debtor. If any of the books of account and records are not available, explain.


       NAME                                                                        ADDRESS

       Jane L. Maher                                                               1273 Kennedy Dr.
                                                                                   Hartford, WI 53027
None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
 q     financial statement was issued by the debtor within two years immediately preceding the commencement of this case.


       NAME AND ADDRESS                                                            DATE ISSUED

       First Bank Financial Centre

       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
  q    taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                                    DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY                    INVENTORY SUPERVISOR                                    (Specify cost, market or other
                                                                                                    basis)

       06/04/2008                           Peter Maher                                            17,400.00


None   b. List the name and address of the person having possession of the records of each of the inventories reported
  q    in a., above.

                                                                                   NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                                           OF INVENTORY RECORDS

       06/04/2008                                                                  Peter Maher
                                                                                   1273 Kennedy Dr.
                                                                                   Hartford, WI 53027

       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
  q
  ü    partnership.

       NAME AND ADDRESS                                                NATURE OF INTEREST                         PERCENTAGE OF INTEREST

None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly
  q    owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                  NATURE AND PERCENTAGE
       NAME AND ADDRESS                                                TITLE                                      OF STOCK OWNERSHIP

       Jane L. Maher                                                   CFO                                        0%
       1273 Kennedy Dr.
       Hartford, WI 53027

       Pamela Maher                                                    President                                  50%

       Peter Maher                                                     Vice-President and CEO                     50%
       1273 Kennedy Dr.
       Hartford, WI 53027

       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
 ü
 q     preceding the commencement of this case.

       NAME                                            ADDRESS                                                          DATE OF WITHDRAWAL




                          Case 08-26131-svk                  Doc 19          Filed 06/20/08              Page 14 of 15
                                                                                                                                                                      15


None      b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
  ü
  q       within one year immediately preceding the commencement of this case.


                                                                                    TITLE                                               DATE OF TERMINATION
          NAME AND ADDRESS

          23. Withdrawals from a partnership or distributions by a corporation
None      If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
          compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year
  ü
  q       immediately preceding the commencement of this case.



          NAME & ADDRESS                                                                                                                AMOUNT OF MONEY
          OF RECIPIENT,                                                           DATE AND PURPOSE                                      OR DESCRIPTION
          RELATIONSHIP TO DEBTOR                                                  OF WITHDRAWAL                                         AND VALUE OF PROPERTY




          24. Tax Consolidation Group.
None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
 q
 ü        consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
          preceding the commencement of the case.

          NAME OF PARENT CORPORATION                                                TAXPAYER IDENTIFICATION NUMBER (EIN)

          25. Pension Funds.
None      If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
  q
  ü       debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
          commencement of the case.

          NAME OF PENSION FUND                                                                     TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                                         * * * * * *
  [If completed on behalf of a partnership or corporation]


     I, declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
     attachments thereto and that they are true and correct to the best of my knowledge, information and belief.



  Date                                                                        Signature


                                                                                             Peter F. Maher, Vice President & CEO
                                                                                             Print Name and Title


  [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                   _____ continuation sheets attached




                                 Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. § 152 and 3571.



                               Case 08-26131-svk                        Doc 19            Filed 06/20/08                     Page 15 of 15
